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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ERLIN EVER MENICAS AVILA,                     )
                                              )
       Plaintiff,                             )
                                              )
            v.                                )       Civil Action No. 15-cv-2135 (TSC)
                                              )
MATTHEW DAILEY,                               )
                                              )
       Defendant.                             )

                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Matthew Dailey files this notice of supplemental authority. In his motion for

clarification and/or reconsideration, [ECF #60], Plaintiff relied on Wesby v. District of Columbia,

767 F.3d 13 (D.C. Cir. 2014), for purposes of establishing the clearly established law governing

Defendant Dailey’s actions at issue in this matter.

       On January 22, 2018, the Supreme Court reversed the D.C. Circuit and held 7-2 that the

officers had probable cause to arrest and 9-0 that they were entitled to qualified immunity. In

doing so, the Supreme Court corrected both errors in the Circuit’s opinion because “the D.C.

Circuit’s analysis, if followed elsewhere, would undermine the values qualified immunity seeks

to promote.” District of Columbia v. Wesby, __ S. Ct. __, 2018 WL 491521 at *10 (2018)

(quotations and citation omitted).

                                              Respectfully submitted,

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                                              GEORGE C. VALENTINE
                                              Deputy Attorney General
                                              Civil Litigation Division

                                              /s/ Chad Copeland
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